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                      EXHIBIT D
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From: Maxim Litvak
Sent: Sunday, September 24, 2023 7:00 PM
To: Matthew B. Stein <MStein@kasowitz.com>; Laura Davis Jones <ljones@pszjlaw.com>
Cc: Dehney, Robert <RDehney@morrisnichols.com>; Edward E. Filusch <EFilusch@kasowitz.com>;
Andrew H. Elkin <AElkin@kasowitz.com>; David Bertenthal <dbertenthal@pszjlaw.com>; Timothy P.
Cairns <tcairns@pszjlaw.com>; Robert Novick <rnovick@kasowitz.com>; Mary F. Caloway
<mcaloway@pszjlaw.com>
Subject: RE: [EXT] RE: In re AmeriFirst Financial, Inc., Case No. 23‐11240 (TMH)

Folks, we are prepared to produce the prepetition loan documents and UCC search results only to
Morris Nichols, and will do so provided that such documents will be treated as professional eyes only
and will not be shared with Kasowitz or the Committee members until the pending retention issues are
addressed.

Please advise if acceptable and we will proceed with the production. Thanks, Max.
